         Case 4:15-cr-00204-RSB-CLR Document 164 Filed 06/29/17 Page 1 of 2


                                                                                                                .. , - '.:';
                                                                    D1$T;tir.;T
                                                                 U.S,           il01i;1i
                          rN TIIE uNrrED srATEs DrsrRf,cr couRT FoRsl:s',:..trlili0iV.
                                 THE SOUTHERNDTSTRTCTOF GEORGTA,nr?                                           :t '_     pl|
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                                                   sAvAl{t{AH        DMSION


TIMECKA GREEN,

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                                                                              CASENOS. CV41]-OO1
                                                                                       c R 4 1 5- 2 0 4
UNITED STATES OE AMERICA,

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          Before         the       Court           is     Petitioner's             Notice          of     Appeal           (Doc'

12) ,      which        the      Eleventh               Clrcuit        Court       of    Appeals           has      directed

(Doc. 15)            this      Court          to    construe           as a Motion               for    Certificate              of

Appealability                  ("COA-) .1               (Doc.        15.)     Pursuant             to     28      U.S.C.          S

2253\c\,           an appeal            may not            be        taken    in     this        matter        unless           the

court        first        issues          a    COA. This              certificate             may issue              only        if

Peti-tioner             has     made a             substantial              showing         of     the      denial         of     a

constitutional                  right.             Slack        v.     McDaniel,            529         U'S.       413,         484

(2000).         The Court            has carefully                   considered          PeEitioner's               case and

l This Court must point out Ehat it has expressly denied such a
request on two occasions. First,                                             the Court adopted (Doc. 10) the
Magistrate              Judge's                  R e p o r t a n d R e c o m ' r r e n d ai ot n               (Doc. 7) , which
recornrnendedthat                          Petitioner              not receive a COA. Because it                                   has
been insufficient                              for      the Eleventh                     C  i r c u  i t   i n   t h e   p a s t ' the
an'rr- Fls.r e          - ^ -vv !n
                                 e JrJe
                                      r Ys s l "
                                                     ^ * - -
                                                     DLaLYL,T
                                                             ^ "     - L ' ^ -    - ^     ' - O   A    should issue in that
same        o r d e r .         ( D   o  c .     1 0     a t     1 . )     A   p p a  r e n  t l y .     that      is    stif -L not
c n o r r o h- T h e F l e \ / e n f h C i r c u i t                not/ con'nands this Court to construe
Petitioner's                 notice of appeal As yet another request for a COA
that        requires                a third              determihation                    of whethel: Petitioner                    is
enritled            Eo rhe cercificate.                                Hopeful Iy, che third                          time is tne
charm,
        Case 4:15-cr-00204-RSB-CLR Document 164 Filed 06/29/17 Page 2 of 2




finds      that       he cannot          rneet the     above standard.          As a result,       any

requesr         by     Petirioner          for     leave    !o   appeal      in    forma     pauperis

woul-d be            moot.     Accordingly,          Pet.itioner's       construed       Motion    for
                                           ''t\/                 rS
f-er-   i f i.^l-F     .\f   Anna:':hr             1f...   12\        DENIED.


         S o O R D E R t r tDn t s Z ? t d a y       of June 2017


                                                    W I L I , I A M T . M O O R E ,J
                                                    U N ] T E D S T A T E S D JS T R CT COURT
                                                    SOUTHERN          D I S T R I C T O T GEORG
                                                                                              IA
